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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

In Re:

Case No. 17-12472-M
Chapter 7

FAVOR OF GOD MINISTRIES, INC.,

VVVVVV

Debtor.
MOTION FOR TURNOVER AND
NOTICE OF OPPORTUNITY FOR HEARING

Karen Carden Walsh, Trustee of the above-captioned case, moves this Court for an Order
requiring the Debtor, Favor of God Ministries, Inc. '(“Debtor”), to turn over property of this
Estate pursuant to 11 U.S.C. Section 542 and Bankruptcy Rule 7001. In support, the Trustee
would show to the Court as follows:

l. The above-named Debtor filed this voluntary petition for relief under Chapter 7 of
the U.S. Bankruptcy Code with this Court on December 19, 2017.

2. Karen Carden Walsh is the duly appointed, qualified and acting Trustee of this
Estate.

3. The Trustee has requested that the Debtor turnover the following items to the
Trustee:

a. Copies of the Debtor’s bank statements and canceled checks for all

accounts from December 2016 through December 2017, including the Debtor’s
scheduled account with Chase (XXXX5335) and with Bank of America

(XXXX2656);
b. The Corporate minute book;
c. Copies of all financial statements for the Debtor for the year 2017;

pursuant to ll U.S.C. Section 542 (the “Requested Items”).

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4. The Trustee is unable to continue the administration of this case Without the
Requested Items. The Trustee seeks turnover of the Requested Items for the benefit of the
Debtor and creditors.

5. Therefore, this Court should enter an Order requiring the Debtor to turnover the

Requested Items.
NOTICE OF OPPORTUNITY FOR HEARING

Your'rights may be affected. You should read this document carefully and consult
your attorney about your rights and the effect of this document. If you do not want the
Court to grant the requested relief, or you wish to have your views considered, you must file a
written response or objection to the requested relief with the Clerk of the United States
Bankruptcy Court for the Northem District of Oklahoma, 224 South Boulder, Tulsa, Oklahoma
74103, no later than fourteen (14) days from the date of filing of this request for relief`. You
should also mail a filed-stamped copy of your response or objection to the undersigned
movant/movant’s attorney [and others who are required to be served] and file a certificate of
service with the Court. If no response or objection is timely filed, the Court may grant the
requested relief without a hearing or further notice. The fourteen (14) day period includes the
3 days allowed for mailing provided for in Rule 9006(1) Fed. R. Bankr. Proc.

WHEREFORE, Trustee requests that the Court enter an Order compelling the above-
named Debtor to turn over the Requested Items as set forth above.
Respectii,llly submitted August apl , 2018.

RIGGS, ABNEY, NEAL,
TURPEN, ORBISON & LEWIS

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ATTORNEYS FOR TRUSTEE

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CERTIFICATE OF SERVICE

I, Karen Carden Walsh, do hereby certify that on the 3 l day of August, 2018, a filed
copy of the above and foregoing instrument was electronically served upon all parties registered
with CM/ECF, and that I mailed a true and correct copy of the above and foregoing instrument
with postage being fully prepaid to:

Favor of God Ministries, Inc.
c/o Austin Wilkerson

11340 Tarrance Road
Louisville, KY 40299

l"< M_. WCO`-’
Karen Carden Walsh

